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 1                               UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
 2
                                      MCALLEN DIVISION
 3
                                                           )
 4
     JUAN RIVERA,                                          )
 5                                                         )   Civil Action No.
                           Plaintiff,                      )
 6                                                         )
                           v.                              )   COMPLAINT
 7
                                                           )   JURY TRIAL DEMANDED
 8   COMMERCIAL RECOVERY                                   )
     SYSTEMS, INC.,                                        )
 9                                                         )
                           Defendant.                      )
10
                                                           )
11
                                               COMPLAINT
12

13          JUAN RIVERA (“Plaintiff”), by and through his attorneys, KIMMEL &

14   SILVERMAN, P.C., alleges the following against COMMERCIAL RECOVERY SYSTEMS,
15
     INC. (“Defendant”):
16

17
                                             INTRODUCTION

18
            1.      This is an action for damages brought by an individual consumer for
19
     Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. §1692, et seq.
20
     (hereinafter “FDCPA”), the Texas Debt Collection Act, Tex. Fin. Code §392 et seq. and Texas
21
     Common Law.
22
                                        JURISDICTION AND VENUE
23

24          2.          Jurisdiction of this court arises pursuant to 15 U.S.C. §1692k(d), which

25   states that such actions may be brought and heard before “any appropriate United States
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     district court without regard to the amount in controversy,” and 28 U.S.C. §1331 grants this
27
     court original jurisdiction of all civil actions arising under the laws of the United States.
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 1             3.    Supplemental jurisdiction to all state law claims is proper pursuant to 28 U.S.C.
 2
     §1367 et seq.
 3
               4.    Venue in this District is proper pursuant to 28 U.S.C. §1391(b)(2), as Defendant
 4

 5
     conducts business and a substantial portion of the acts giving rise to this action occurred in this

 6   District.
 7                                          PARTIES
 8
               5.    Plaintiff is a natural person who resides in Roma, Texas 78584.
 9
               6.    Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §1692a(3).
10

11             7.    In the alternative, Plaintiff is a person granted a cause of action under the

12   FDCPA. See 15 U.S.C. §1692k(a), and Wenrich v. Cole, 2000 U.S. Dist. LEXIS 18687 (E.D.
13
     Pa. Dec. 22, 2000).
14
               8.    Defendant is a Texas debt collection company with its principal office located
15
     at 8035 RL Thornton Freeway, Suite 220, Dallas, Texas 75228.
16

17             9.    Defendant is a “debt collector” as that term is defined by 15 U.S.C. §1692a(6),

18   and repeatedly contacted Plaintiff in an attempt to collect a debt.
19
               10.   Defendant acted through its agents, employees, officers, members, directors,
20
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
21

22
                                       FACTUAL ALLEGATIONS

23             10.   At all relevant times, Defendant was seeking to collect a consumer debt alleged
24   to be owed by Plaintiff.
25
               11.   The alleged debt, a Chase Bank credit card account, arose out of transactions
26
     that were for personal, family or household purposes.
27

28
               12.   As Plaintiff has no business debt, the alleged debt could only be personal in

     nature.


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 1           13.     Beginning in or around June 2011, and continuing through January 2012,
 2
     Defendant placed repeated and continuous telephone calls to Plaintiff’s cellular telephone in
 3
     order to collect the alleged debt.
 4

 5
             14.    In the beginning, Defendant placed near-daily telephone calls to Plaintiff, and, at

 6   times, called him two (2) to three (3) times a day.
 7           15.    Then, in or around September 2011, and continuing through November 2011,
 8
     Defendant called Plaintiff, on average, once a week, in its attempts to collect a debt.
 9
             16.    Thereafter, in November 2011, and continuing through January 2012, Defendant
10

11   increased the frequency of its calls to Plaintiff, calling him one (1) to three (3) times a day.

12           17.    In an effort to send a clear message that the calls were viewed as unwelcome,
13
     Plaintiff began a practice of hanging up immediately when calls came in; however, Defendant
14
     then immediately called back each time. Upon information and belief, the only reason to call
15
     back habitually in this manner, was to annoy, abuse and harass Plaintiff.
16

17           18.    Plaintiff is a Spanish speaking person who avoids communicating with people

18   who do not speak Spanish.
19
             19.    Defendant utilized Spanish speaking collectors in communications with
20
     Plaintiff.
21

22
             20.    When Plaintiff was afforded a Spanish-speaking collector to speak with, the

23   collector threatened to “garnish his wages” and “call his job” if payment was not received.
24           21.    On one occasion, Defendant’s collector threatened to “take legal action against
25
     [Plaintiff] if [he] didn’t agree to pay [them] over the phone.”
26
             22.    Defendant’s collectors demanded Plaintiff “use his current credit card to pay
27

28
     [them] in full” when Plaintiff disputes owing the alleged debt.




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 1          23.      Plaintiff insisted on receiving something in writing from Defendant regarding
 2
     the alleged debt before he would consider making any payment, to which Defendant’s
 3
     collectors demanded $2,000.00 and that “the only way the calls would stop is if [he] paid
 4

 5
     [them] in full.”

 6          24.      On January 10, 2012, Defendant threatened that if Plaintiff did not pay “by
 7   January 12, 2012,” they “would take the next step,” which Plaintiff understood to be a threat of
 8
     legal action.
 9
            25.      Defendant has never sent Plaintiff anything in writing containing any proof that
10

11   he owed the alleged, in either English or Spanish.

12          26.      Defendant took the actions described above with the intent to harass, deceive
13
     and coerce payment from Plaintiff.
14
                           FAIR DEBT COLLECTION PRACTICES ACT
15
                                                COUNT I
16

17                   a. Section 1692d of the FDCPA prohibits debt collectors from engaging in any

18                      conduct the natural consequence of which is to harass, oppress, or abuse any
19
                        person in connection with the collection of a debt.
20
                     b. Section 1692d(5) of the FDCPA prohibits debt collectors from causing a
21

22
                        consumer’s telephone to ring repeatedly with the intent to annoy the hearer.

23                   c. Defendant violated §§1692d and 1692d(5) of the FDCPA when it caused
24                      Plaintiff’s telephone to ring multiple times on numerous days each week
25
                        with the intent to annoy Plaintiff.
26

27

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 1                                      COUNT II
 2
           a. Section 1692e of the FDCPA prohibits debt collectors from using any false,
 3
              deceptive, or misleading representation or mean in connection with the
 4

 5
              collection of any debt.

 6         b. A debt collector violates §1692e(4) of the FDCPA by representing or
 7            implicating that nonpayment of any debt will result in the arrest or
 8
              imprisonment of any person or the seizure, garnishment, attachment, or sale
 9
              of any property or wages of any person unless such action is lawful and the
10

11            debt collector or creditor intends to take such action.

12         c. Section 1692e(5) of the FDCPA prohibits debt collectors from threatening
13
              to take any action that cannot legally be taken or is not intended to be taken.
14
           d. Section 1692e(10) of the FDCPA prohibits debt collectors from using any
15
              false representation or deceptive means to collect or attempt to collect any
16

17            debt.

18         e. Defendant violated §§1692e and 1692e(4) when it threatened to garnish
19
              Plaintiff’s wages without the intent and/or legal authority to do so, when it
20
              threatened to bring take legal action against Plaintiff without the intent
21
              and/or legal authority to do so, and when it engaged in other deceptive
22

23            conduct in its attempt to collect the alleged debt.
24                                      COUNT III
25
           a. Section 1692f of the FDCPA prohibits debt collectors from using unfair or
26
              unconscionable means to collect or attempt to collect any debt.
27

28
           b. Defendant violated §1692f of the FDCPA when it would immediately call

              back Plaintiff after he had hung up the phone; not provide Plaintiff with


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 1            documentation of the debt despite his repeated requests; and when it
 2
              engaged in other unfair or unconscionable means to collect an alleged debt
 3
              from Plaintiff.
 4

 5

 6

 7     DEFENDANT VIOLATED THE TEXAS DEBT COLLECTION ACT
 8
                                     COUNT IV
 9
           a. Plaintiff incorporates by reference all the above paragraphs of this
10

11            Complaint as though fully stated herein.

12         b. Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. §392.001(1).
13
           c. Defendant is a “debt collector” and a “third party debt collector” as defined
14
              by Tex. Fin. Code Ann. §392.001(6) and (7).
15
           d. Section 392.302(4) of the Texas FDCPA prohibits debt collectors from
16

17            causing a telephone to ring repeatedly or continuously, or making repeated

18            or continuous telephone calls, with the intent to harass a person at the called
19
              number.
20
           e. Defendant violated § 392.302(4) of the Texas FDCPA by causing Plaintiff’s
21
              cellular telephone to ring repeatedly or continuously with the intent of
22

23            annoying and harassing the person at the called number.
24                                    COUNT V
25
           a. Section 392.303(a) of the Texas FDCPA prohibits debt collectors from using
26
              unfair or unconscionable means to collect a debt.
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28
           b. Defendant violated §392.303(a) when it would immediately call back

              Plaintiff after he had hung up the phone; not provide Plaintiff with


                                           6
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 1            documentation of the debt despite his repeated requests; and when it
 2
              engaged in other unfair or unconscionable means to collect an alleged debt
 3
              from Plaintiff.
 4

 5
                                     COUNT VII

 6         a. Section 392.301(a) of the Texas FDCPA prohibits debt collectors from
 7            threatening to seize property without a court proceeding and threating to take
 8
              an action prohibited by law.
 9
           b. Defendant violated §392.301(a) when it threatened to garnish Plaintiff’s
10

11            wages and commence legal action without the authority to do so.

12                       INTRUSION UPON SECLUSION
13
                                     COUNT VIII
14
           a. Plaintiff incorporates by reference all the above paragraphs of this
15
              Complaint as though fully stated herein.
16

17         b. The Restatement of Torts, Second, §652(b) defines intrusion upon seclusion

18            as, “one who intentionally intrudes…upon the solitude or seclusion of
19
              another, or his private affairs or concerns, is subject to liability to the other
20
              for invasion of privacy, if the intrusion would be highly offensive to a
21
              reasonable person.”
22

23         c. Further, Texas recognizes Plaintiff’s right to be free from invasions of
24            privacy. Texas State Employees Union v. Texas Dep't of Mental Health and
25
              Mental Retardation, 746 S.W.2d 203 (Tex.1987).
26
           d. Defendant intentionally and unreasonably intruded upon Plaintiff’s right of
27

28
              privacy by its continuous, repeated and harassing calls to Plaintiff.

           e. Defendant’s conduct resulted in multiple invasions of privacy which would


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 1                       be considered highly offensive to a reasonable person.
 2
                   f. As a result of Defendant’s conduct, Plaintiff is entitled to actual damages in
 3
                         an amount to be determined at trial from Defendant.
 4

 5
                   g. All the acts of Defendant and its agents were committed with malice, intent,

 6                       wantonness, and recklessness, and as such, Defendant is subject to punitive
 7                       damages.
 8
             WHEREFORE, Plaintiff, JUAN RIVERA, respectfully prays for a judgment as follows:
 9
                   a.       All actual damages suffered;
10

11                 b.       Statutory damages of $1,000.00 for the violation of the FDCPA pursuant

12                          to 15 U.S.C. §1692k(a)(2)(A), and of $100 pursuant to Tex. Fin. Code
13
                            392.403(a)(2);
14
                   c.       Punitive damages;
15
                   d.       All reasonable attorneys’ fees, witness fees, court costs and other
16

17                          litigation costs incurred by Plaintiff pursuant to 15 U.S.C. § 1693k(a)(3)

18                          and Tex. Fin. Code § 392.403(b); and
19
                    d.      Any other relief deemed appropriate by this Honorable Court.
20
                                     DEMAND FOR JURY TRIAL
21
             PLEASE TAKE NOTICE that Plaintiff, JUAN RIVERA, demands a jury trial in this
22

23   case.
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 1   DATED: 12/24/2012               KIMMEL & SILVERMAN, P.C.
 2
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